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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 18-cv-81222-DMM
MARY MCLEAN, individually and
on behalf of all others similarly
situated,
Plaintiff,

V.

BRETT A. OSBORN, D.O., PLLC,
a professional limited liability company,

Defendant.
/

FINAL APPROVAL ORDER
On August 19, 2019, the Court granted preliminary approval to the proposed class action

settlement set forth in the Settlement Agreement and Release (the “Settlement Agreement”)
between Plaintiff Mary Mclean (“Plaintiff”), on behalf of herself and all members of the Settlement
Class!, and Defendant Brett A. Osborn, D.O., PLLC (“Defendant”) (collectively, the “Parties”).
The Court also provisionally certified the Settlement Class for settlement purposes, approved the
procedure for giving Class Notice to the members of the Settlement Class, and set a Final Approval
Hearing to take place on December 5, 2019.

On December 5, 2019, the Court held a duly noticed Final Approval Hearing to consider:
(1) whether the terms and conditions of the Settlement Agreement are fair, reasonable, and
adequate; (2) whether a judgment should be entered dismissing the Plaintiff's Complaint on the
merits and with prejudice in favor of Defendant and against all persons or entities who are

Settlement Class Members herein who have not requested exclusion from the Settlement Class; and

 

' Unless otherwise defined, capitalized terms herein have the definitions found in the Settlement
Agreement.

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(3) whether and in what amount to award counsel for the Settlement Class as Attorneys’ Fees and
Expenses and whether and in what amount to award a Service Award to Plaintiff.

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
I. JURISDICTION OF THE COURT

1. The Court has personal jurisdiction over the parties and the Settlement Class
Members, venue is proper, and the Court has subject matter jurisdiction to approve the Agreement,
including all Exhibits thereto, and to enter this Final Approval Order. Without in any way affecting
the finality of this Final Approval Order, this Court hereby retains jurisdiction as to all matters
relating to administration, consummation, enforcement, and interpretation of the Settlement
Agreement and of this Final Approval Order, and for any other necessary purpose.

2. The Settlement Agreement was negotiated at arm’s length by experienced counsel
who were fully informed of the facts and circumstances of this litigation (the “Action’) and of the
strengths and weaknesses of their respective positions. The Settlement Agreement was reached
after the Parties had engaged in mediation and extensive settlement discussions and after the
exchange of formal information, including information about the size and scope of the Settlement
Class. Counsel for the Parties were therefore well positioned to evaluate the benefits of the
Settlement Agreement, taking into account the expense, risk, and uncertainty of protracted
litigation.

3, The Court finds that the prerequisites for a class action under Fed. R. Civ. P. 23
have been satisfied for settlement purposes in that: (a) the number of Settlement Class Members is
so numerous that joinder of all members thereof is impracticable; (b) there are questions of law
and fact common to the Settlement Class; (c) the claims of Plaintiff are typical of the claims of the

Settlement Class he seeks to represent; (d) Plaintiff has and will continue to fairly and adequately

 

 
 

 

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represent the interests of the Settlement Class for purposes of entering into the Settlement
Agreement; (e) the questions of law and fact common to the Settlement Class Members
predominate over any questions affecting any individual Settlement Class Member; (f) the
Settlement Class is ascertainable; and (g) a class action is superior to the other available methods
for the fair and efficient adjudication of the controversy.
I. CERTIFICATION OF SETTLEMENT CLASS

4, Pursuant to Fed. R. Civ. P. 23, this Court hereby finally certifies the Settlement
Class, as identified in the Settlement Agreement.
Il. APPOINTMENT OF CLASS REPRESENTATIVES AND CLASS COUNSEL

5. The Court finally appoints Scott A. Edelsberg of Edelsberg Law, P.A.; Andrew J.
Shamis of Shamis and Gentile, P.A.; and Manuel S. Hiraldo of Hiraldo P.A; as Class Counsel for
the Settlement Class.

6. The Court finally designates Plaintiff as the Class Representative.
IV. NOTICE AND CLAIMS PROCESS

7. The Court makes the following findings on notice to the Settlement Class:

(a) The Court finds that the distribution of the Class Notice, as provided for in
the Settlement Agreement, (i) constituted the best practicable notice under the circumstances to
Settlement Class Members, (ii) constituted notice that was reasonably calculated, under the
circumstances, to apprise Settlement Class Members of, among other things, the pendency of the
Action, the nature and terms of the proposed Settlement, their right to object or to exclude
themselves from the proposed Settlement, and their right to appear at the Final Approval Hearing,
(iii) was reasonable and constituted due, adequate, and sufficient notice to all persons entitled to
be provided with notice, and (iv) complied fully with the requirements of Fed. R. Civ. P. 23, the

United States Constitution, the Rules of this Court, and any other applicable law.

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(b) The Court finds that the Class Notice and methodology set forth in the

Settlement Agreement, the Preliminary Approval Order, and this Final Approval Order (i)
constitute the most effective and practicable notice of the Final Approval Order, the relief available
to Settlement Class Members pursuant to the Final Approval Order, and applicable time periods;
(ii) constitute due, adequate, and sufficient notice for all other purposes to all Settlement Class
Members; and (iii) comply fully with the requirements of Fed. R. Civ. P. 23, the United States
Constitution, the Rules of this Court, and any other applicable laws.
V. FINAL APPROVAL OF THE CLASS ACTION SETTLEMENT

8. The Settlement Agreement is finally approved in all respects as fair, reasonable and
adequate. The terms and provisions of the Settlement Agreement, including all Exhibits thereto,
have been entered into in good faith and are hereby approved as fair, reasonable, and adequate as
to, and in the best interests of, each of the Parties and the Settlement Class Members.
VI. ADMINISTRATION OF THE SETTLEMENT

9. The Parties are hereby directed to implement the Settlement Agreement according
to its terms and provisions. The Administrator is directed to provide Claim Settlement Payments
to those Settlement Class Members who submit valid, timely, and complete Claims.

10. The Court hereby approves Class Counsel’s request for attorney fees and awards
Class Counsel as reasonable attorneys’ fees, costs, and expenses, which consists of 20% of the
Settlement Fund. The Court finds that the requested fees and costs are reasonable under the
percentage of the fund for the reasons set forth herein and for the reasons articulated in my Order
(DE 45). The award of attorneys’ fees and costs to Class Counsel shall be paid from the Settlement

Fund within the time period and manner set forth in the Settlement Agreement.

 

 
 

 

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11. The Court hereby awards Class Counsel for their time incurred and expenses
advanced. The Court has concluded that: (a) Class Counsel achieved a favorable result for the
Class by obtaining Defendant’s agreement to make significant funds available to Settlement Class
Members, subject to submission of valid claims by eligible Settlement Class Members; (b) Class
Counsel devoted substantial effort to pre- and post-filing investigation, legal analysis, and
litigation; (c) Class Counsel prosecuted the Settlement Class’s claims on a contingent fee basis,
investing significant time and accumulating costs with no guarantee that they would receive
compensation for their services or recover their expenses; (d) Class Counsel employed their
knowledge of and experience with class action litigation in achieving a valuable settlement for the
Settlement Class, in spite of Defendant’s possible legal defenses and its experienced and capable
counsel; (3) Class Counsel have standard contingent fee agreements with Plaintiff, who has
reviewed the Settlement Agreement and been informed of Class Counsel’s fee request and has
approved; and (f) the Notice informed Settlement Class Members of the amount and nature of
Class Counsel’s fee and cost request under the Settlement Agreement, Class Counsel filed and
posted their Petition in time for Settlement Class Members to make a meaningful decision whether
to object to the Class Counsel’s fee request, and zero Settlement Class Member(s) objected.

12. Consistent with my prior Order (DE 45), Class Counsel are hereby awarded
$160,000 in attorneys’ fees, which is 20% of the Settlement Fund.

13. Consistent with my prior Order, the Court awards a Service Award in the amount

of $5,000.00 to Mary Mclean payable pursuant to the terms of the Settlement Agreement.

VII. RELEASE OF CLAIMS
14. Upon entry of this Final Approval Order, all members of the Class who did not
validly and timely submit Requests for Exclusion in the manner provided in the Agreement shall,

by operation of this Final Approval Order, have fully, finally and forever released, relinquished
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and discharged Defendant and the Released Parties from the Released Claims as set forth in the
Settlement Agreement.

15. Furthermore, all members of the Class who did not validly and timely submit
Requests for Exclusion in the manner provided in the Agreement are hereby permanently barred
and enjoined from filing, commencing, prosecuting, maintaining, intervening in, participating in,
conducting or continuing, either directly or in any other capacity, either individually or as a class,
any action or proceeding in any court, agency, arbitration, tribunal or jurisdiction, asserting any
claims released pursuant to the Settlement Agreement, or seeking an award of fees and costs of
any kind or nature whatsoever and pursuant to any authority or theory whatsoever, relating to or
arising from the Action or that could have been brought in the Action and/or as a result of or in

addition to those provided by the Settlement Agreement.

16. The terms of the Settlement Agreement and of this Final Approval Order, including
all Exhibits thereto, shall be forever binding on, and shall have res judicata and preclusive effect
in, all pending and future lawsuits maintained by Plaintiff and all other Settlement Class Members,
as well as their heirs, executors and administrators, successors, and assigns.

17. The Releases, which are set forth in Section V of the Settlement Agreement, are
expressly incorporated herein in all respects and are effective as of the date of this Final Approval
Order; and the Released Parties (as that term is defined in the Settlement Agreement) are forever
released, relinquished, and discharged by the Releasing Persons (as that term is defined in the
Settlement Agreement) from all Released Claims (as that term is defined in the Settlement
Agreement).

(a) The Settlement Agreement and Releases do not affect the rights of
Settlement Class Members who validly and timely submitted a Request for Exclusion from the

Settlement.

 

 
 

 

 

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(b) The administration and consummation of the Settlement as embodied in the
Settlement Agreement shall be under the authority of the Court. The Court shall retain jurisdiction
to protect, preserve, and implement the Settlement Agreement, including, but not limited to,
enforcement of the Releases. The Court expressly retains jurisdiction in order to enter such further
orders as may be necessary or appropriate in administering and implementing the terms and
provisions of the Settlement Agreement.

) The Settlement Agreement shall be the exclusive remedy for any and all
Settlement Class Members, except those who have properly requested exclusion (opted out), and
the Released Parties shall not be subject to lability or expense for any of the Released Claims to

any Settlement Class Member(s).

@ The Releases shall not preclude any action to enforce the terms of the
Settlement Agreement, including participation in any of the processes detailed therein. The
Releases set forth herein and in the Settlement Agreement are not intended to include the release
of any rights or duties of the Settling Parties arising out of the Settlement Agreement, including

the express warranties and covenants contained therein.

18. Plaintiff and all Settlement Class Members who did not timely exclude themselves
from the Settlement Class are, from this day forward, hereby permanently barred and enjoined
from directly or indirectly: (i) asserting any Released Claims in any action or proceeding; (ii) filing,
commencing, prosecuting, intervening in, or participating in (as class members or otherwise), any
lawsuit based on or relating to any of the Released Claims or the facts and circumstances relating
thereto; or (iii) organizing any Settlement Class Members into a separate class for purposes of
pursuing as a purported class action any lawsuit (including by seeking to amend a pending
complaint to include class allegations, or seeking class certification in a pending action) based on

or relating to any of the Released Claims.

 
 

 

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Vill. NO ADMISSION OF LIABILITY

19. Neither the Settlement Agreement, nor any of its terms and provisions, nor any of
the negotiations or proceedings connected with it, nor any of the documents or statements referred

to therein, nor this Final Approval Order, nor any of its terms and provisions, shall be:

(a) offered by any person or received against Defendant or any Released Party
as evidence of, or construed as or deemed to be evidence of, any presumption, concession, or
admission by Defendant of the truth of the facts alleged by any person, the validity of any claim
that has been or could have been asserted in the Action or in any other litigation or judicial or
administrative proceeding, the deficiency of any defense that has been or could have been asserted
in the Action or in any litigation, or of any liability, negligence, fault, or wrongdoing by Defendant

or any Released Party;

(b) offered by any person or received against Defendant or any Released Party
as evidence of a presumption, concession, or admission of any fault or violation of any law by

Defendant or any Released Party; or

(c) offered by any person or received against Defendant or any Released Party
as evidence of a presumption, concession, or admission with respect to any liability, negligence,
fault, or wrongdoing in any civil, criminal, or administrative action or proceeding.

IX. OTHER PROVISIONS

20. This Final Approval Order and the Settlement Agreement (including the Exhibits
thereto) may be filed in any action against or by any Released Party (as that term is defined herein
and the Settlement Agreement) to support a defense of res judicata, collateral estoppel, release,
good faith settlement, judgment bar or reduction, or any theory of claim preclusion or issue

preclusion or similar defense or counterclaim.

 

 
 

 

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21. | Without further order of the Court, the Settling Parties may agree to reasonably
necessary extensions of time to carry out any of the provisions of the Settlement Agreement.

22. In the event that the Effective Date does not occur, this Final Approval Order shall
automatically be rendered null and void and shall be vacated and, in such event, all orders entered
and releases delivered in connection herewith shall be null and void. In the event that the Effective
Date does not occur, the Settlement Agreement shall become null and void and be of no further
force and effect, neither the Settlement Agreement nor the Court’s Orders, including this Order,
shall be used or referred to for any purpose whatsoever, and the Parties shall retain, without
prejudice, any and all objections, arguments, and defenses with respect to class certification,
including the right to argue that no class should be certified for any purpose, and with respect to
any claims or allegations in this Action.

23. This Action, including all individual claims and class claims presented herein, is
hereby dismissed on the merits and with prejudice against Plaintiff and all other Settlement Class

Members, without fees or costs to any party except as otherwise provided herein.

SIGNED in Chambers at West Palm Beach, Florida, this é of December, 2019.

 

DONALD M. MIDDLEBROOKS
UNITED STATES DISTRICT JUDGE

 
